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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

RAMIRO FELIX GONZALES,                         §
         Plaintiff,                            §
                                               §
v.                                             § CIVIL ACTION NO. 4:21-CV-00828
                                               §
BRYAN COLLIER, Executive Director              §
of the Texas Department of Criminal            §
Justice, BOBBY LUMPKIN, Director               §
of the Texas Department of Criminal            §
Justice–Correctional Institutions              §
Division, and DENNIS CROWLEY,                  §
Warden of the Huntsville Unit,                 §
              Defendants.                      §


                     DEFENDANTS’ ADVISORY TO THE COURT


       Defendants Bryan Collier, Bobby Lumpkin, and Dennis Crowley herein advise the

Court of the state’s intent to carry out the execution of Ramiro Felix Gonzales on July 13,

2022, pursuant to the valid Execution Order issued by the Medina County District Court. ECF

No. 21-1. When carrying out the execution, Defendants will comply with this Court’s

preliminary injunction issued on July 5, 2022. ECF Nos. 91, 92.

                                          Respectfully submitted,


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                                          Attorney General of Texas

                                          BRENT WEBSTER
                                          First Assistant Attorney General

                                          GRANT DORFMAN
                                          Deputy First Assistant Attorney General
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                                          COLLIER, LUMPKIN, AND CROWLEY


           CERTIFICATE OF SERVICE AND ELECTRONIC FILING

       I, LEAH O’LEARY, hereby certify that on July 11, 2022, I electronically filed the
foregoing document with the Clerk of the Court for the United States Court for the Southern
District of Texas using the electronic case-filing (ECF) system of the Court, which
electronically serves all counsel of record and registered users in this case.

                                          /s/ Leah O’Leary
                                          LEAH O’LEARY
                                          Assistant Attorney General
